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9
10                         UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12                                   WESTERN DIVISION
13
14   SARA OCHOA and KIMBERLY BROWN,                Case No. CV 22-5896-GW-ASx
     on behalf of themselves and those similarly
15   situated,                                     ORDER GRANTING JOINT
                                                   STIPULATION TO MODIFY
16                     Plaintiffs,                 SCHEDULE
17         v.
18   ZEROO GRAVITY GAMES LLC, a
     Delaware limited liability company,
19
                       Defendant.
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                                     [PROPOSED] ORDER
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1         Pursuant to the Stipulation of the Parties, it is hereby ORDERED that:
2            1. All proceedings before this Court in this action shall be stayed for
3               additional fourteen (14) days (running from April 12, 2023);
4            2. Plaintiffs shall file a motion for preliminary approval by April 26, 2023;
5            3. The hearing set for April 29, 2024 shall be taken off calendar and reset
6               for May 30, 2024 at 8:30 a.m.
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8    IT IS SO ORDERED.
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     Dated: April 12, 2024
12                                            HON. GEORGE H. WU,
                                              United States District Judge
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                                  [PROPOSED] ORDER
